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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

CITY OF ROCKFORD, et al.,                                        Case No. 3:17-cv-50107

                               Plaintiffs,                       Hon. Frederick J. Kapala,
                                                                   Judge
          v.
                                                                 Hon. Iain D. Johnston,
MALLINCKRODT ARD, INC., et al.,                                    Magistrate Judge

                              Defendants.                        Oral Argument Requested

                 DECLARATION OF MATTHEW M. MARTINO
               IN SUPPORT OF DEFENDANTS EXPRESS SCRIPTS
               HOLDING COMPANY’S, EXPRESS SCRIPTS, INC.’S,
            CURASCRIPT, INC.’S, ACCREDO HEALTH GROUP, INC.’S,
         AND UNITED BIOSOURCE CORPORATION’S MOTION TO DISMISS

       I, MATTHEW M. MARTINO, declare as follows:

       I, Matthew M. Martino, am a partner at the law firm of Skadden, Arps, Slate, Meagher &

Flom LLP, counsel of record for Defendants Express Scripts Holding Company, Express Scripts,

Inc., CuraScript, Inc., Accredo Health Group, Inc., and United BioSource Corporation in this

action. I have personal knowledge of the facts set forth in this declaration and if necessary,

could testify competently thereto.

       I make this declaration in support of Defendants Express Scripts Holding Company’s,

Express Scripts, Inc.’s, CuraScript, Inc.’s, Accredo Health Group, Inc.’s, and United BioSource

Corporation’s Motion to Dismiss and for purposes of transmitting to the Court a true and correct

copy of the attached document.

       The following document is a true and correct copy of a document cited in the

Memorandum of Law in Support of Defendants Express Scripts Holding Company’s, Express
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Scripts, Inc.’s, CuraScript, Inc.’s, Accredo Health Group, Inc.’s, and United BioSource

Corporation’s Motion to Dismiss that is not otherwise in the record:

               Exhibit 1:     Express Scripts, Inc. Pharmacy Benefit Management Agreement

       I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct. Executed on January 22, 2018, at New York, NY.

                                               /s/ Matthew M. Martino
                                               Matthew M. Martino (admitted pro hac vice)
                                               SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
                                               Four Times Square
                                               New York, NY 10036
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                                               Counsel for Defendants Express Scripts Holding
                                               Company, Express Scripts, Inc., CuraScript, Inc.,
                                               Accredo Health Group, Inc., and United BioSource
                                               Corporation
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2018, a true and correct copy of the foregoing

document was electronically filed with the Clerk of Court using the CM/ECF system, which will

send notification of such filing to all counsel of record.



                                                    /s/ Matthew M. Martino
